

Matter of Colello v Colello (2019 NY Slip Op 02013)





Matter of Colello v Colello


2019 NY Slip Op 02013


Decided on March 15, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 15, 2019

PRESENT: WHALEN, P.J., SMITH, DEJOSEPH, TROUTMAN, AND WINSLOW, JJ. (Filed Mar. 15, 2019.) 


MOTION NO. (962/18) CA 17-01501.

[*1]GUARDIAN FOR EUGENE DAVID COLELLO, PURSUANT TO SCPA ARTICLE 17-A. MICHELLE A. COLELLO, PETITIONER-RESPONDENT, 
vEUGENE G. COLELLO, RESPONDENT-APPELLANT. LISA J. ALLEN, ESQ. AND STANLEY J. COLLESANO, ESQ., RESPONDENTS. (APPEAL NO. 1.)



MEMORANDUM AND ORDER
Motion for leave to appeal to the Court of Appeals denied.








